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                      EXHIBIT D
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Master Lease    Term      Monthly      Months     Remaining                   Equipment
Schedule No.   (Months)   Payment     Remaining    Balance
    n/a          60       $1,807.94      47       $87,934.18     NISSAN Model PL50LP, s/n PL02-9H3650
                                                                 NISSAN Model PL50LP, s/n PL02-9H3651
                                                                 NISSAN Model PL50LP, s/n PL02-9H3656
                                                                 NISSAN Model PL50LP, s/n PL02-9H3657
